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FILED’

 

DOCKET NO. 472
BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE HEALTH FOODS ANTITRUST LITIGATION
ORDER DEEMING MOTION WITHDRAWN’ AND VACATING HEARING

This matter is before the Panel pursuant to a motion
under 28 U.S.C. §1407 to centralize the five actions listed
on the attached Schedule A in the Central District of California
for coordinated or consolidated pretrial proceedings. Movants
report that counsel in each of the constituent actions have
agreed to transfer and consolidation of the actions pursuant
to 28 U.S.C. §1404(a) in the Central District of California.
Accordingly, movants now desire to withdraw their motion.

IT IS THEREFORE ORDERED that movants' request to withdraw
their motion be granted and that the motion be, and the same
hereby is, DEEMED WITHDRAWN.

IT IS FURTHER ORDERED that the hearing order filed on
August 26, 1981, as amended on September 4, 1981, and the
schedule attached thereto be, and the same hereby are, VACATED
insofar as they relate to the above-captioned litigation.

FOR THE PANEL:

Andrew A. Ca
Chairman

 
 
   
 

 
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SCHEDULE A

© MDL-472 -~ In re Health Foods Antitrust Litigation

Northern District of California
Buffalo Whole Food & Grain Company v. Fleming Foods
Co., et al., C.A. No. -C81-1011-RPA
Southern District of California
Glten Rasmussen a and Windansea Natural Grocery, Inc.,
et al. v. Landstrom Distributors, Inc., et al., C.A.
No. 81-67-S(H)
Martin Goldberg, etc. v. Landstrom Distributors, Inc.,
et al., C.A. No. 81-243-N(M)
Central District of California
Virgil Sidney Kitrell, Jr., d/b/a Better Life Health
Foods v. Kahan & Lessin Co., et al.,
C.A. No. CV81-928-MRP(Px)
H. Ray Spagnuolo, d/b/a Rays of Health v. Kahan & Lessin
Co., et al., C.A. No. CV81-927-TJH(Jrx)

 

 

 

 

 

 

 

 

 
